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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                             CASE NO. 19-60280-CR-ALTONAGA

  UNITED STATES OF AMERICA,

         Plaintiff,
  vs.

  VICTOR FOSSI GRIECO and
  JEAN CARLOS SANCHEZ ROJAS,

        Defendants.
  ________________________________/

                                            ORDER

         THIS CAUSE came before the Court on Defendant, Victor Fossi Grieco’s Unopposed

  Motion to Continue Status Conference [ECF No. 19]. Being fully advised, it is

         ORDERED AND ADJUDGED that the Motion is GRANTED. The status conference

  is rescheduled to November 12, 2019 at 8:55 a.m.

         DONE AND ORDERED in Miami, Florida, this 16th day of October, 2019.




                                                       _________________________________
                                                       CECILIA M. ALTONAGA
                                                       UNITED STATES DISTRICT JUDGE

  cc:    counsel of record
